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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
*
VS. * CASE NO. 16-CR-229-BAH
*
RUBEN OSEGUERA-GONZALEZ *

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The parties are currently scheduled for a Sentencing Hearing on January 10, 2025, at 9:30a.m. Due
to defendant’s movement from the Northern Regional Jail to the Northern Neck Regional Jail, the United
States Probation Department and the parties need additional time to complete the presentence investigation
interview and report and are jointly requesting that the Sentencing Hearing be continued from the currently
scheduled date to either February 7, 2025, at 9:30 a.m., February 21, 2025, at 9:30 a.m., or April 4, 2025,

at 9:30 a.m. Wherefore, the parties respectfully request the Court issue an Order granting the request.

Respectfully submitted,

/s Anthony E. Colombo, Jr.
Anthony E. Colombo, Jr.
Counsel for Ruben Oseguera-Gonzalez

/s Jan E. Ronis
Jan Ronis
Counsel for Ruben Oseguera-Gonzalev.

/s/ Kaitlin Sahni__

Kaitlin Sahni, Acting Deputy Chief
Kate Naseef, Trial Attorney

Jonathan Hornok, Trial Attorney
Narcotic and Dangerous Drug Section
Criminal Division

United States Department of Justice

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CERTIFICATE OF SERVICE

IT HEREBY CERTIFY that on this 4th day of November 2024, a copy of this Notice and Proposed
Order was sent electronically via CM/ECF to all parties of record.

/s Anthony E, Colombo, Jr.
Anthony E. Colombo, Jr.
Counsel for Ruben Osguera-Gonzalez

